         Case 3:19-cv-00534-MMC Document 25 Filed 05/17/19 Page 1 of 1



                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA

                                      CIVIL MINUTES

Date: May 17, 2019               Time: 10:05 - 10:22  Judge: MAXINE M. CHESNEY
                                       = 17 minutes
Case No.: 19-cv-00534-MMC        Case Name: Wai Y. Wong v. Rash, Curtis & Associates

Attorney for Plaintiff: Taxisarchis Hatzidimitridis
Attorney for Defendant: Anthony Valenti

Deputy Clerk: Tracy Geiger                   Not Reported or Recorded


                                       PROCEEDINGS

Initial Case Management Conference (held telephonically.

REFERRALS:
(X) Case referred to ADR for Mediation to be completed by August 22, 2019.

PRETRIAL SCHEDULE:

Deadline to Amend: May 27, 2019
Discovery Cutoff: November 5, 2019
Expert Disclosure: July 29, 2019
Expert Discovery cutoff: November 5, 2019
Dispositive Motions to be filed by: January 31, 2020
Joint Status Conference statement due: February 14, 2020
Further Status Conference: February 21, 2020 at 10:30 a.m. – to be held telephonically
Final Pretrial Conference: April 21, 2020 at 10:00 a.m.
Trial: May 4, 2020 at 9:00 a.m., for 2 to 3 days, by (X) Jury ( ) Court

Order to be prepared by:
( )   Plaintiff               ( )      Defendant           (X)      Court

Notes:
